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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO

RIO REAL ESTATE INVESTMENT
OPPORTUNITIES, LLC, a New Mexico
limited liability company,

       Plaintiff,

vs.                                                Case Number: 1:12-cv-00758-KBM-ACT

TESLA MOTORS, INC., a Delaware
corporation,

       Defendant.

                        DEFENDANT TESLA MOTORS, INC.’S
                       CORPORATE DISCLOSURE STATEMENT

       Pursuant to Fed. R. Civ. P. 7.1, Defendant Tesla Motors, Inc. makes the following

disclosure:

       Defendant Tesla Motors, Inc. is a nongovernmental corporate party to the present action.

       It has no parent company and is a publicly traded company.          No publicly traded

       corporation owns 10% or more of the stock of Tesla Motors, Inc.’s stock.

                                    Respectfully submitted by,

                                    RODEY, DICKASON, SLOAN, AKIN & ROBB, P.A.


                                    By:   “Electronically Filed” /s/ Andrew G. Schultz    .
                                            Andrew G. Schultz
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                                    Attorneys for Defendant Tesla Motors, Inc.
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We hereby certify that a true copy
of the foregoing was mailed to the
following counsel of record:

       Christopher M. Pacheco
       LeeAnn Werbelow
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this 13th   of July, 2012.

RODEY, DICKASON, SLOAN, AKIN & ROBB, P.A.


By     /s/ Andrew G Schultz                        .
       Andrew G. Schultz




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